Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 1of67 Page ID #16

TABLE OF EXHIBITS

 

 

Exhibit Description No. of Pages

A Memo signed by Warden William True, dated April 1, 1
2019.

B Memo dated April 2, 2019, unsigned. 1

C Memo signed by Warden William True, dated April 9, 1
2019.

D Memo signed by Warden William True, dated April 1/7, 1
2017.

E Verified Affidavit of Plaintiff James R. Kammeyer, Jr. 4
(#20118-081)

F Email from Plaintiff to Counselor Thempsen 1

G Verified Affidavit of Matthew G. Sullivan (#15792-026 ) 4

H Verified Affidavit of Patrick Ziska (#57911-060) 4

I Verified Affidavit of Carlton Miller (#42116-044) 4

J Verified Affidavit of Eric Welch (#10444-089) 7

K Verified Affidavit of John Alan Conroy (#42054-177) 4

L Verified Affidavit of Tony Skannell (#25179-112) 4

M Verified Affidavit of Jimmy Rhodes (#15025-064) 4

N Verified Affidavit of Bradley Gammon (#07456-025) 4

0 Melo signed by Warden William True, dated April 24, 1

p Verified Affidavit of Michael Smith (#18475-026) 5
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 2 o0f67 Page ID #17

PLAINTIFF'S EXHIBIT A

 
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 30f67 Page ID #18

U.S. Department of Justice
Federal Bureau of Prisons
United States Penitentiary

Marion, Illinois 62959

 

 

April 1, 2019
MEMORANDUM FOR INMATE POPULATION
= — . ae : as
Woe
FROM: B. True, Warden
SUBJECT: Illicit Drug Use

This memorandum is being formulated to advise the inmate population that possession,
distribution or use of Spice, K2 and other illicit drugs will not be tolerated and you will be

held responsible.

Spice, K2 and other illicit drug use pose a serious threat to the security and orderly
running of this institution. In addition, drugs such as Spice and K2 are considered to be
very dangerous substances that can result in serious and possibly deadly
consequences. Use of Spice and K2 can lead to death, kidney failure, heart attacks

and long term damage to mental health.

Until further notice, the following measures will be in place.

* Monthly Commissary Spending Limit will be reduced to $100.00

* Inmate Telephone Privileges will be reduced to 1, 5 minute telephone call per day

* Inmate e-mails will be reduced to 5 e-mails per day

The above restrictions will be reevaluated on a 30 days basis. If during the 30 day
period there are no incidents involving inmate drug use, the limits will be increased.
Every incident involving inmate drug use will reset the 30 day time frame and may result

in further reduced limits.

We have a Zero tolerance policy for illicit drug use; therefore, inmates found in
possession of Spice, K2 or any other illegal substance will be referred for

prosecution.
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 4o0f67 Page ID #19

PLAINTIFF'S EXHIBIT B

 
Case 3:19-cv-00454-JPG Document 1-1 Filed 04/26/19 Page 5of67 Page ID #20
U.S. Department of Justice —
Federal Bureau of Prisons

United States Penitentiary
Marion, IL 62959

 

April 2, 2019

MEMORANDUM FOR: Inmate Population
You will receive three trash bags for the following:

4°** Trash bag is for all your commissary, personal
clothing and items which fit into your locker that you ©
can provide receipts for (you will get it back). |

2™ Trash bag is for all your government issued
clothing (You will get it back).

3" Trash bag is for excess property that cannot fit in
your locker (you won't get it back).

All excess property will be confiscated. If proof of
receipt is provided, it will be shipped home by you or
disposed of at your request. If receipt cannot be
provided it will be properly disposed of.

It is highly recommended that your cell is in order to
include sheets, blankets, and towels. Take pride in
your living conditions and have it in order.
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 6of67 Page ID #21

PLAINTIFF'S EXHIBIT C

 
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 7 of 67 Page ID #22

U.S. Department of Justice
Federal Bureau of Prisons
United States Penitentiary

Marion, Illinois 62959

 

 

April 9, 2019
MEMORANDUM FOR INMATE POPULATION _
ett ES a
c x ™
FROM: ~ Br true, Warden :
SUBJECT: » Reduction in Commissary Spending Limits

In accordance with the Illicit Drug Use memorandum issued to the inmate population on
April 1, 2019, the monthly commissary spending limit is being reduced to $75.00.
Specifically, since the beginning of the institutional Lockdown, a total of eight (8)
inmates have been placed into the Special Housing Unit due to illicit drug use and or

drug possession.

Until further notice, the following measures will be in place.

* Monthly Commissary Spending Limit will be reduced to $75.00

* Inmate Telephone Privileges will be reduced to 1, 5 minute telephone call per day
* Inmate e-mails will be reduced to 5 e-mails per day

The above restrictions will be reevaluated on a 30 days basis. If during the 30 day
period there are no incidents involving inmate drug use, the limits will be increased.

Every incident involving inmate drug use will reset the 30 day time frame and may result
in further reduced limits.

We have a Zero tolerance policy for illicit drug use; therefore, inmates found in
possession of Spice, K2 or any other illegal substance will be referred for

prosecution.
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 8o0f67 Page ID #23

PLAINTIFF'S EXHIBIT D

 
Case 3:19-ev00454-JPG Document 1-1 Filed 04/26/19 Page 9of67 Page ID #24

 

U.S. Department of Justice

Federal Bureau of Prisons

United States Penitentiary

 

FROM:

- SUBJECT:

4500 Prison Road
Marion, IL. 62959

April 19, 2017

a
B. True, Warden

Deterrence of alcohol, drug and weapons related incidents.

 

4

|
The occurrence of alcohol related incidents, to include; fighting and threatening staff, along with
the significant amount of contraband, to include; alcohol, drugs and weapons has increased
substantially at USP Marion. It has been determined this is directly impacting both the safety of

staff and inmates
impacts the order
bulletin, the follo
with incidents in
inmates.

This type of behavior and contraband will not be tolerated as it negatively

ly running and operation of the facility. Effective with the issuance of this
wing privileges will be suspended for the discovery of such contraband, along
the units involving such contraband, example; fight involving intoxicated

Ist Offense within a 30 day period:
-Loss of Television for 24 hours

2nd Offense wit!
-Loss of Televisi

3rd Offence wit!
-Loss of Televisi

All incidents ine

hin a 30 day period:
on and Phone access for 48 hours

hin a 30 day period: -
on/Phone/Computer access for 72 hours

xcess of 3 within a 90 day period may result in further administrative measures

to gain compliance. When the unit is incident free for 30 days, this process will start over.

 
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 10 0f67 Page ID #25

PLAINTIFF'S EXHIBIT E

 
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 11o0f67 Page ID #26

VERIFIED AFFIDAVIT/DECLARATION OF ~Jowes (2 Vamme ye c Se
~ =

State of Illinois }
) gs. Register # ZOUB-OS\ |

County of Williamson  }

_— Te.
1, Dames Ramsay Kanner, currently incarcerated at U.S.P. Marion, P.O.
Box 1000, 4500 Prison Road, Marion, Illinois 62959, do hereby swear and
verify that if called upon to testify in this matter, I would testify as
Toliows, to-wit:

1. On March 30, 2019, Warden William True’ locked-down U.S.P. Marion,
alleging "Illicit Drug Use". [MEMORANDUM FOR INMATE POPULATION, Apri? 1,
2019, issued on the third day of what would become a nine-day Tockdown].

2. uring that time, a shakedown of the entire institution ensued.

3. uring that shakedown, the personal property of a1] inmates was
discarded, my own and others | witnessed, to include correspondence course
textbooks, fmmate legal work and personal clothing within “institution
limits", or lawfully purchased commissary, along with normal refuse.

4. I personally witnessed BOP Staff destroy government property by throwing
away functionally safe microwaves out of every single unit. These microwaves
had been purchased with inmate funds via the Trust Fund. All are now gone,

5. During this lockdown, the Warcen and His agents gave all inmates
nutritionally inadequate meals as a form of corporal punishment (no hot meals
for six days, sma}] portions}.
Teter eset tired ort to STR Tour Ss ere

i ates 7
Zelf marcel bape ahi bye Sn ances as Ste ype St es efeitos ae
bia Ary a F : “Hite Les o ‘ eT Ted Tu y 4 =] hth tts

feceas—oresent—
7. The Warden's agents confiscated cleaning supplies from most units, to
include toilet brushes, scouring pads, and Ajax/soap/disinfectant,

8. Prior to the Warden's actions, I personally observed a regular "catch
ani release" de facto (unwritten) policy enforced. Particular inmates
abviously guilty of intoxication by K2, Spice, or commercial chemicals

were locked up in the Special Housing Unit ("SHU"}, only to be released a few
days later with apparently no consequences in some cases.

 
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 12 o0f67 Page ID #27

10. The Warden engaged in Mass Punishment against all inmates, regardless of
the fact that most of us (myself included) do not use drugs or other
intoxicants. This was a way of manipulating jnmates to turn on each other.

11. The April 1, 2019 Memo states, in relevant part, that all inmates in the
institution receive the following sanctions without a particular finding of
any prohibited act: Monthly Commissary Spending Limit reduced to $100 (from
$300); Inmate Telephone Privileges reduced to one, 5-minute telephone call
per day; and e-mails reduced to five e-mails per day, for a period of 30
days. “If during the 30 day period there are no incidents involving inmate
drug use, the limits will be increased. Every incident involving inmate drug
use will reset the 30 day time frame and may result in further reduced

limits."

 

= . ee rl a cle sl) fa4rA4_ noe 2p oe Chee.
action_against usersddtstrtierters—w441_ Face nee on se grenrees,

13. I personally am aware of the institution calling so-called "shot-
callers" from various groups on the compound to a meeting in the gym. At
this meeting, they or others who spoke with them unanimously held that the
Warden's agents encouraged them to "fix the problem by any means necessary"
and all the groups declined to do so because "that is the police's job."

14. I am suffering a loss of access to the courts and I noticed that others

are as well.

15. During this time and up to the present day, I requested an

administrative remedy from Ceysicelor Traneson ,» so that I could begin the

administrative remedy process. It was denied and I followed up with e-mail

to no avail.

Affidavit of Yemes Kame ef , Page 2 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 13 0f 67 Page ID #28

16. I fear for my safety and honestly know and believe that the situation of
the security and orderly running of the institution is far more seriously
threatened now, than it was before when the Warden's agents engaged in
systematic "catch and release" of partiular individuals. Now, mass
punishment has me (and those I talk with) on "pins and needles" with deadly
risk caused by the Warden's actions.

17. I have already been threatened (implicitly or explicitly) with
retaliation by staff, to include the following: the writing of bogus
"shots"; nuisance "shake-downs"; transfer out of my cell/housing unit
assignment; involuntary transfer out of work or programming assignment(s) and
participation; transfer out of the institution for “diesel therapy."

18. For all of the reasons in this affidavit/declaration, I believe
petitioning the Court to be my only remaining (reasonable and lawful) option,
as the safety at USP Marion is immediately at risk and staff are indifferent

toward providing the administrative remedy process.

19. In April of 2017, the Warden implemented a near-identical policy, but it
was targeted at particular housing units, and not the whole institution. If
past performance is any indicator, mass punishment not only did not work, but
according to the Warden's own words, the situation has become worse. He
seems to be throwing up his. hands and saying “you inmates take care of it, I
have no willingness to order my Staff to engage in sobriety checks, and no
willingness to ship intoxicant users/distributors so that they and they alone
can experience the consequences of their own actions."

20. I desire a remedy as follows: Immediate injunction ordering the Warden
to immediately permit all inmates (except for those duly found guilty of
incident reports for particular prohibited acts), full and unrestricted norma]
access to all Privileges; Brand-new commercial-grade microwaves purchased
for every housing unit (three per unit), to kil] food-borne bacteria and meal
preparation for those who (a) have a work schedule and physical demands for
meals outside of regular "chow hall" menu/times (to complement, not
supplement the institution meals); (b) have dietary demands due to exercise;

Affidavit of \imesKammeyer_, Page 3 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 14 o0f67 Page ID #29

and (c) have medical or religious meal needs for all of the above-named

purposes of meal preparation and safety.

Mau \S 2014 /s/ Ove
G

DateExecuted

Under penalty of perjury pursuant to 28 U.S.C. § 1746, I hereby swear
and verify that the foregoing is true and correct as an affidavit, and that
the facts stated on information and_belief are true to the best of my

knowledge and belief. 3 3Q@S6-0GS
Witnessed by: ERIC. sited, £ C= Fi a
© 14S b~0dS Date
Witnessed by: Dradie armas 1s) Qa on Boron Y-/ §. 2014
Date

 

 

Affidavit of JamceKammeyer, Page 4 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 15 o0f67 Page ID #30

PLAINTIFF'S EXHIBIT F

 
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 16 of67 Page ID #31

TRULINCS 20118081 - KAMMEYER, JAMES RAMSEY JR - Unit: MAR-G-A

FROM: 20118081
TO: Unit Management East .
SUBJECT: ***Request to Staff*** KAMMEYER, JAMES, Reg# 20118081, MAR-G-A

DATE: 04/23/2019 06:50:14 AM

To: Mr. Thompson
Inmate Work Assignment: Unicor Cable 1

Mr Thompson,

| have tried to catch you several times since the lockdown earlier this month attempting to get a BP-8. Can you please get one
to me?

Respectfully,
James Kammeyer
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 17 of67 Page ID #32

PLAINTIFF'S EXHIBIT G

 
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 18 of 67 Page ID #33

VERIFIED AFFIDAVIT/DECLARATION OF MATTHEW G. SULLIVAN
Illinois state)

) ss. XXX-XX-XXXX Register No. 15791-026
Williamson county)

I, Matthew G. Sullivan, am currently incarcerated at the United States
Penitentiary in Marion, 4500 Prison Road, Marion, I]linois 62959. I do hereby
swear and verify that if called upon to testify in this matter, I would

testify as follows, to-wit:

1. On March 30, 2019, Warden William True locked down. USP Marion, alleg-
ing “Illicit Drug Use." [MEMORANDUM FOR INMATE POPULATION, Apri] 1, 2019,
issued on the third day of what would become a nine-day lockdown].

2. During that time, a shakedown of the entire institution ensued.

3. Pursuant to the mass shakedown, massive amounts of personal property
belonging to the inmate population was forcibly discarded by USP Marion staff.
I, along with many other inmates, were forced to dispose of religious books
and pamphlets, legal documents, correspondence course textbooks, personal
clothing, and other items purchased from the inmate commissary. All items
listed were possessed well within the authorized institution limits.

4. I personally witnessed BOP staff destroy government property by throw-
ing away functionally safe microwaves out of every single housing unit. These
microwaves had been purchased with inmate funds via the Trust Fund. All are
now gone.

5. During this lockdown, the Warden and his agents gave all inmates
nutritionally inadequate meals as a form of corporal punishment (no hot meals
for six days, small portions).

6. The toilets in housing units X and N were shut off for six hours or
more. As a result inmates who reside in those units were forced to live in

close proximity to human feces.

Page 1 of 4 pages
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 19 of 67 Page ID #34

7. The Warden's agents confiscated cleaning supplies from most units, to
include toilet brushes, scouring pads, and Ajax/soap/disinfectant.

8. Prior to the Warden's actions, I personally observed a regular “catch
and release" de facto (unwritten) policy enforced. Particular inmates
obviously guilty of intoxication by K2, Spice, or commercial chemicals were
locked up in the Special Housing Unit ("SHU"), only to be released a few days
later with apparently no consequences in some cases.

9. I personally know of individuals who did in fact receive "shots"
(Incident Reports and disciplinary action), where Medical Staff worked in
tandem with Custody Staff to assure the accuracy, fairness, and validity of a
“motor skills assessment field sobriety test." For reasons unknown to me, the
Warderi's agents systematically failed to make these particularized assessments
in their regular duty and care of custody.

10. The Warden engaged in Mass Punishment against all inmates, regardless
of the fact that most of us (myself included) do not use drugs or other intoxi-
cants. This was a way of manipulating inmates to turn on each other.

11. The April.1, 2019 memo states, in relevant part, that all inmates in
the instutition would receive the following sanctions without a particular
finding of any prohibited act: Monthly Commissary Spending Limit reduced to
$100 (from $360); Inmate Telephone Privileges reduced to one five-minute tele-
phone call per day; and emails reduced to five emails per day, for a period of
30 days. "If during the 30-day period there are no incidents involving inmate
drug use, the limits will be increased. Every incident involving. inmate drug
use will reset the 30-day time frame and may result in further reduced limits."

12. I personally overheard the Warden or his agents explicitly say that he
does not care how the issue is resolved, that any inmate who personally takes
action against. users/distributors will face no consequences.

13. I personally am aware of the institution calling so-called "shot-

Page 2 of 4 pages
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 200f67 Page ID #35

callers" from various groups on the compound to a meeting in the gym. At this
meeting, they or others who spoke with them unanimously held that the Warden's
agents encouraged them to “fix the problem by any means necessary" and all the
groups declined to do so because "that is the police's job."

14. Due to the restriction on both daily telephone minutes and email cor-
respondence, I have been unable to adequately communicate with the Seventh
Circuit Court of Appeals and the McLean County Judicial Court regarding my
pending cases. Thus, my due process right to access to the courts has been
unduly hampered.

15. I have asked numerous staff members for an administrative remedy form
so that I could appeal the sanctions that have been unjustly bestowed upon me.
All such requests have been verbally denied.

16. The actions of Warden True and his staff members have caused me to
fear for my safety. Warden True's actions have given security threat groups and
violent offenders the liberty to carry out gang-style hits on various members
of the inmate population without provocation or justification. Violence and
the threat of violence has increased because of the green light placed on sus-
pected drug dealers and users. As long as the newly implemented rules and pro-
cedures stay in place, I fear that the violence will continue if not grow worse.

17. I have already been threatened (implicitly or explicitly) with re-
taliation by staff, to include the following: the writing of bogus "shots";
nuisance shakedowns, transfer out of my cell/housing unit assignment, involun-
“tary transfer out of work or programming assignment(s) and participation;
transfer out of the institution for “diesel therapy"; etc.

18. For all the reasons in this affidavit/declaration, I believe petition-
ing the Court to be my only remaining (reasonable and lawful) option, as the

safety of USP Marion is immediately at risk and staff are indifferent toward

providing the administrative remedy process.

Page 3 of 4 pages
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 210f67 Page ID #36

19. In April 2017, the Warden implemented a near-identical policy, but it
was targeted at particular housing units, and not the whole institution. If
past performance is any indicator, mass punishment not only did not work, but
according to the Warden's own words, the situation has become worse. He seems
to be throwing up his hands and saying “you inmates take care of it; I have no
willingness to order my Staff to engage in sobriety checks, and no willingness
to transfer intoxicant users/distributors so that they and they alone can ex-
perience the consequences of their own actions."

20. I desire a remedy as follows: Immediate injunction order the Warden to
immediately permit all inmates (except for those duly found guilty of incident
reports for particular prohibited acts) full and unrestricted normal acesss to
all privileges; brand-new commercial-grade microwaves purchased for every
housing unit (three per unit), to kill food-borne bacteria and. facilitate meal
preparation for those who (a) have a work schedule and physical demands for
meals outside of regular meals; (b) have dietary demands due to exercise;
and/or (c) have medical or religious meal needs for all of the above-named
purposes of meal preparation and safety.

j a
Dated: 4/(8/ 20/4 Sa ff
Matthew G. Sullivan, Reg. No. 15791-026
Under the penalty of perjury pursuant to 28 U.S.C. § 1746, I hereby swear

that the foregoing is true and correct to the best of my knowledge and belief.

Witnessed by: SU Ih du /s/ XW aD 4B [19
X Uyhams el Date

Witnessed by: AP Wade Lilbgs /s/ ar ;
oe ate

 

Page 4 of 4 pages
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 22 of 67 Page ID #37

PLAINTIFF'S EXHIBIT H

 
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 23 of 67 Page ID #38

VERIFIED AFFIDAVIT OF PATRICK ZISKA
I, Patrick Ziska, do declare the following under the penalty of perjury:

1. I am an inmate at the United States Penitentiary in Marion, Illinois,
register number #57911-060, and have been housed in Marion since December 2015.

2. On March 30, 2019, the inmate population of USP Marion was locked down
on account of drug abuse. The lockdown would last until April 8.

3. On April 1, 2019, Warden William True issued a memo informing me and
all other inmates that we were all being sanctioned for the ongoing drug abuse.
We could only make one five-minute phone call per day, send five emails per
day, and spend $100 per month. The memo said this would last for 30 days or
until the drug problem went away.

4, I was concerned about the issue of mass sanctions and wanted to file an
administrative remedy form about it. When I could, I asked my unit case manager,
Mr. Murphy, for-a form, but he said that I couldn't file one on the memo. I
never got an administrative remedy form from anyone.

5. While we were locked down, USP Marion staff conducted a shakedown of
everyone's cell, after making us all pack our property into trash bags. I had
a large number of textbooks (with receipts) that I was planning to send home
but hadn't gotten the stamps for before the lockdown. I put these books in a
bag and put the mail-out authorization form (which I already had) on top of
the bag.

6. During the shakedown, I saw staff throwing away bags of excess property,
contrary to what they had told us in the earlier memo. Staff didn't care if we
had receipts; they just threw stuff away as they felt like it.

7. When staff reached my cell, I tried to explain that my bag of books

needed to be mailed out, but they were unwilling to listen. It took almost 30
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 24 o0f67 Page ID #39

minutes of pointing out the rules before they agreed to let me put some of my
books outside the counselor's office to be mailed. The other books were thrown
away. I am aware of other inmates who had very similar experiences.

8. While I do not remember every staff member involved in the shakedown,
I do recall all members of my unit team and unit managment, with several
psychology staff, working in the unit, with Captain Stickles supervising
between units.

9. After the lockdown ended, Warden True lowered the monthly spending
limit to $75 after one day, citing the fact that eight more inmates were caught
using drugs.

10. The restrictions frustrated many inmates, who tried to reasonably
point out to Warden True that they weren't doing drugs and shouldn't be pun-
ished. I heard him tel] multiple inmates that he didn't care. He instead asked
them what they were doing about the drug problem, and suggested they "do
something" about the people who were doing drugs. My impression was that he
expected the inmates to solve the drug problem on their own by any means nec-
essary.

11. I am aware that the Warden and other high-level staff called inmate
representatives into meetings and told them to “police [their] own." I am
aware that they told those inmates would be lifted if the inmates took action
on their own to stop drug abuse by "enforcing the rules.” When asked about
getting in trouble for "enforcing" the rules, Warden True told inmates that
no one who enforced the rules would get in trouble because "[he makes] the
final decision on who gets shipped."

12. My understanding of the BOP, having been in it for several years, is

that inmates are expected to follow the rules, and staff are expected to

 

enforce them. Not the other way around.

13. Based on these statements made by the Warden and his staff, I and
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 25o0f67 Page ID #40

other inmates clearly interpreted his intent to mean that if we assaulted
drug users, he would protect us.

14, USP Marion is a generally nonviolent campus, which sees on average
about one fight per month. Within the first two weeks of these comments by the
warden, fights took place far more often, such that I lost count of how many
took place.

15. One fight was so bad that a whole housing unit was closed for hours
while staff cleaned up the blood. The two inmates who started the fight were
released back to the inmate population after two days. They said they were just
doing what they had been told to do.

16. The inmates who had been caught doing drugs have been released back to
the inmate population, and several have since been assaulted.

17. I was threatened with violence if I didn't participate in a proposed
food strike, which thankfully never took place. Given the recent outbreaks of
violence I have found it necessary to avoid many of the common areas of USP
Marion and keep a low profile.

18. I have been diagnosed with autism and anxiety disorders. USP Marion
is already a challenging environment for me and the new tone the warden is set-
ting has increased my anxiety a lot.

19. I tried to follow up via email regarding an administrative remedy.

I never received a response. I believe petitioning the Court to be the only
remaining option available.

20. Because of the restrictions on communication imposed by Warden True,
it has been difficult to communicate with my family. This is doubly difficult
because I have a “red flag" placed on ali my communications already. Normally
my emails are held for 24 hours, but now are being held for up to a week
before sending. I believe my phone conversations are being singled out for

monitoring. No one has given me a reason for why these particular restrictions
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 26 of 67 Page ID #41

were imposed on me.

21. I believe the Warden's actions are unconstitutional and request the
Court overturn the mass sanctions immediately and end the policy of turning

a blind eye towards violence. I would also like to be compensated for the

property staff threw away.

I, Patrick Ziska, do declare the foregoing statements are true, correct,
and complete, to the best of my knowledge and recollection, submitted under

the penalty of perjury pursuant to 18 U.S.C. § 1746.

Oe
Dated: April 20 2014 /s/ ——

Patrick Ziska (#57911-060)

United States Penitentiary, Marion
P.O. Box 1000

Marion, Illinois 62959-7500

Witnessed by:

Tohn Rust 4562-043 LZ A 20 Agil 2019

 

 

Name signature. Date
Matthew Sulliean tt At 4/20/2014
Name Signature Date
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 27 of 67 Page ID #42

PLAINTIFF'S EXHIBIT I

 
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 28 of 67 Page ID #43

VERIFIED AFFIDAVIT OF CARLTON MILLER
I, Carlton Miller, currently incarcerated at USP Marion, P.O. Box 1000,
Marion, Illinois 62959, do hereby swear and verify that if called upon to

testify in this matter, I would testify as follows, to wit:

1. On March 30, 2019, Warden William True locked down USP Marion, alleging
"Illicit Drug Use." [MEMORANDUM FOR INMATE POPULATION, April 1, 2019, issued
on the third day of what would become a nine-day lockdown].

2. During that time, a shakedown of the entire institution ensued.

3. During that shakedown, my own personal property was thrown away (with
normal garbage) as well as that of others I witnessed, which included:
personally purchased and owned books, commissary (food and clothing), and
legal work and files.

4, In addition to personal property, several items of clothing/lTaundry
issued by the institution were taken for no reason. I have made attempts to
obtain new issues and have been denied by staff. I am aware of other inmates
who have similarly been unable to obtain new clothing issues.

5. During this lockdown, the Warden and his agents gave all inmates
nutritionally inadequate meals as a form of corporal punishment (no hot meals
for six days, small portions).

6. N Unit toilets were deliberately turned off for six hours, where inmates
housed in three-man cells were forced to. live in conditions with raw sewage
and human feces present throughout the entire six-hour period.

7. The Warden's agents confiscated cleaning supplies from most units, to
include toilet brushes, scouring pads, and Ajax/soap/disinfectant.

8. Prior to the Warden's actions, I personally observed a regular “catch
and release" de facto policy enforced. Particular inmates obviously guilty of

intoxication by K2, Spice, or commercial chemicals were locked up in the
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 29 0f 67 Page ID #44

Special Housing Unit (SHU), only to be released a few days later with apparently
no consequences in Some cases.

9. Prior to the lockdown, I personally witnessed one inmate be detained
by staff in front of the chow hall, where they found a small canister full of
smal] paper rectangles (known by inmates to be an intoxicant such as K2, Spice,
or other commercial chemical). This canister was returned to the inmate and
he was let go on his way.

10. I personally know of individuals who did in fact receive "shots"
(Incident Reports and disciplinary action), where Medical Staff worked in
tandem with Custody Staff to assure the accuracy, fairness, and validity of
a "motor skills assessment field sobriety test." For reasons unknown to me,
othe Warden's agents systematically failed to make these particularized
assessments in their regular duty and care of custody.

11. The Warden engaged in mass punishment against all inmates, regardless
of the fact that most of us (myself included) do not use drugs or other in-
toxicants. This was a way of manipulating inmates to turn on each other.

12. The April 1, 2019, Memo states, in relevant part, that all inmates in
the i nstitution receive the following sanctions without a particular finding
of any prohibited act: Monthly Commissary Spending Limit reduced to $100
(from $360); Inmate Telephone Privileges reduced. to one five-minute phone call
per day; and emails reduced to five emails per day, for a period of 30 days.
“If during the 30-day period there are no incidents involving inmate drug use,
the limits will be increased. Every incident involving inmate drug use will
reset the 30-day time frame and may result in further reduced limits.

13. I personally am aware of the institution calling so-called "shot call-
ers" from various groups on the compound to a meeting in the gym. At this
meeting, they or others who spoke with them unanimously held that. the Warden's

agents encouraged them to “fix the problem by any means necessary" and all the
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 300f67 Page ID #45

groups declined to do so because “that is the police's job."
14. Following our release from lockdown, I requested an administrative

remedy from Case Manager E. Murphy, so that I could begin the administrative

remedy process.

15. I fear for my safety and know and believe that the situation of the
security and orderly running of the institution is far more seriously threatened
now, than it was before when the Warden's agents engaged in systematic “catch
and release" of particular individuals. Now, mass punishment has me (and those
I talk with) on "pins and needles" with deadly risk caused by the Warden's
actions.

16. I have already been threatened (implicitly or explicitty) with
retaliation or harassment by staff, to include the following: the writing of
bogus "shots", nuisance "shakedowns", the closure of Unicor and this facility
if another lockdown occurs, transfer out of the institution for "diesel therapy”
or relocation to a compound where I cannot safely live on account of my con-
viction, etc.

17. For all of the reasons in this affidavit, I believe petitioning the
Court to be my only remaining (reasonable and lawful) option, as the safety
of USP Marion is immediately at risk and staff are indifferent towards pro-
viding the administrative remedy process.

18. In April 2017, the Warden implemented a near-identical policy, but it
was targeted at particular housing units, and not the whole institution. If
past performance is any indicator, mass punishment not only did not work, but
according toithe Warden's own words, the situation has become worse. He seems
to be throwing up his hands and saying "you inmates take care of it, I have
no willingness to order my Staff to engage in sobriety checks, and no willing-

ness to ship intoxicant users/distributors so that they and they alone can
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 31o0f67 Page ID #46

experience the consequences of their actions.

19. I desire a remedy as follows: Immediate injunction ordering the

Warden to immediately permit all inmates (expect for those duly found guilty

of incident reports for particular prohibited acts) full and unrestricted

normal access to all privileges; brand-new commercial-grade microwaves pur-

chased for every housing unit (three per unit), to kill food-borne bacteria

and meal preparation for those who (a) have a work schedule and physical de-

mands for meals outside of regular food service menu and schedules; (b) have

dietary demands due to exercise; and (c) have special medical or religious

needs.

I, Carlton Miller, do declare the foregoing statements are true, correct,

and complete, to the best of my knowledge and recollection, submitted under the

penalty of perjury pursuant to 18 U.S.C. § 1746.

Dated: Ayri/ 23, 22/9

Witnessed by: John Cyst

Carlton Miller

Register No. 42116-044

c/o United States Penitentiary, Marion
P.0. Box 1000

Marion, Illinois 62959-7500

a“ ri 23 Apc?! 2019

 

 

Name Ai freee Date

Bayan lomey B Lupa | omen ZB Ages 2019
oO 7 SS

Name Signature Date
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 32 o0f67 Page ID #47

PLAINTIFF‘S EXHIBIT J

 
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 33 0f 67 Page ID #48

VERIFIED AFFIDAVIT/DECLARATION OF ERIC D. WELCH

State of Illinois }
) ss. Register # /694U- O89
County of Williamson  }
I, ERIC D. WELCH . currently incarcerated at U.$.P. Marion, P.O.
Box 1600, 4500 Prison Road, Marion, Ll}inois 62959, do hereby swear and
verify that if called upon to testify in this matter, I would testify as

follows, to-wit:

i On March 30, 2019, Warden William True Jocked-down U.S.P. Marion,
alleging “Ellicit Drug Use". [MEMORANDUM FOR INMATE POPULATION, Apri? 1,
2019, .ssued on the third day of what would become a mine-day Tockdown].

2. During that time, a shakedown of the entire institution ensued.

3. Uuring that shakedown, the personal property of 211 fomates was
discarded, my own and others | witnessed, to include corresponderce course
textbooks, inmate legat work and personal clothing within “institution
limits", or lawfully purchased commissary, along with normal refuse.

4. I personally witnessed BOP Staff destroy government property by throwing
away functionally safe microwaves cut of every single unit. These microwaves
had been purchased with inmate funds via. the Trust Fund. All are now gone.

5. During this lockdown, the Warden and his agents gave all inmates
nutritionally inadequate meals as a. form of corporal punishment (no hot meals
for six days, small portions).

   

 

8. Prior to the Warden's actions, I personally observed a regular "catch

ang release" de facto (unwritten) policy enforced. Particular inmates
obviously guilty of intoxication by K2, Spice, cor commercial chemicals
were locked up in the Special Housing Unit ("SHU"), only to be released a few

days later with apparently no consequences in some aero,
Rebet Freeman, for exam? ¢

9. I personally know of individuals who did in fact receive “shots"
(Incident Reports and disciplinary action), where Medical Staff worked in
tandem with Custady Staff to assure the accuracy, fairness and validity of a
“motor-skil}s assessment field-sobriety test." For reasons unknown to me,
the Warden's agents systematicaily failed to make these particularized
assessments in their regular duty and care of custody.

*x "Staff": Unit Manager Coordinator Dawn and Facilities Manager Hanbaum gave this direction.
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 34o0f67 Page ID #49

10. The Warden engaged in Mass Punishment against all inmates, regardless of
the fact that most of us (myself included) do not use drugs or other
intoxicants. This was a way of manipulating jnmates to turn on each other.

11. The April 1, 2019 Memo states, in relevant part, that all inmates in the
institution receive the following sanctions without a particular finding of
any prohibited act: Monthly Commissary Spending Limit reduced to $100 (from
$300); Inmate Telephone Privileges reduced to one, 5-minute telephone call
per day; and e-mails reduced to five e-mails per day, for a period of 30
days. "If during the 30 day period there are no incidents involving inmate
drug use, the limits will be increased. Every incident involving inmate drug
use will reset the 30 day time frame and may result in further reduced

limits."

12. I personally overheard the Warden or his agents explicitly say that he
does not care how the issue is resolved, that any inmate who personally takes

action against users/distributors will face no consequences.

13. I personally am aware of the institution calling so-called “shot-
callers" from various groups on the compound to a meeting in the gym. At
this meeting, they or others who spoke with them unanimously held that the
Warden's agents encouraged them to “fix the problem by any means necessary"
and al] the groups declined to do so because “that is the police's job."

14. I am suffering a loss of access to the courts and I noticed that others

are as well.

15. During this time, I requested a "sensitive 9" administrative remedy from
Case Manager Coordinator Dawn, Unit Manager Ms. Byrum, and Unit Manager

Aaron Deaton. Ms. Dawn said "I don't know why, you already wrote the Warden.”
I responded “I need protection from weaponized self-pity." Mr. Deaton informed
me,my counselor Mr. J. David, would be in the next day. Based on a prior
interaction with Mr. David about six weeks prior, wherein I had composed the
language in a BP-8 asking for 20 minutes to eat lunch instead of 4 minutes, Mr.
David told me if “you ever do that again, I'11 ship you to the big units” (a
removal of a privilege). Not wishing to invoke retaliation for exercizing a

right, I have obeyed Mr. David's directive to this day and refrained from writing.
Affidavit of ERIC D. WELCH , Page 2 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 35 o0f67 Page ID #50

16. I fear for my safety and honestly know and believe that the situation of
the security and orderly running of the institution is far more seriously
threatened now, than it was before when the Warden's agents engaged in
systematic “catch and release" of particular individuals. .Now, mass
punishment has me (and those I talk with) on "pins and needles" with deadly
risk caused by the Warden's actions.

17. I have already been threatened (implicitly or explicitly) with

retaliation by staff, to include the following: the writing of bogus (planted contraband)
"shots"; nuisance “shake-downs"; transfer out of my cell/housing unit

assignment; involuntary transfer out of work or programming assignment(s) and
participation; transfer out of the institution for “diesel therapy."

18. For all of the reasons in this affidavit/declaration, I believe
petitioning the Court to be my only remaining (reasonable and lawful) option,
as the safety at USP Marion is immediately at risk and staff are indifferent

toward providing the administrative remedy process.

19. In April of 2017, the Warden implemented a near-identical policy, but it
was targeted at particular housing units, and not the whole institution. If
past performance is any indicator, mass punishment not only did not work, but
according to the Warden's own words, the situation has become worse. He
seems to be throwing up his hands and saying “you inmates take care of it, I
have no willingness to order my Staff to engage in sobriety checks, and no
willingness to ship intoxicant users/distributors so that they and they alone
can experience the consequences of their own actions."

20. I desire a remedy as follows: Immediate injunction ordering the Warden
to immediately permit all inmates (except for those duly found guilty of
incident reports for particular prohibited acts), full and unrestricted normal
access to all Privileges; Brand-new commercial-grade microwaves purchased
for every housing unit (three per unit), to kill food-borne bacteria and meal
preparation for those who (a) have a work schedule and physical demands for
meals outside of regular "chow hall" menu/times (to complement, not
supplement the institution meals); (b) have dietary demands due to exercise:

Affidavit of ERIC D. WELCH , Page 3 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 36 of67 Page ID #51

and (c) have medical or religious meal needs for all of the above-named

purposes of meal preparation and safety.

21. I authored the attached email to the Warden and did not receive a response.
I also received an email back from the Trust Fund Coordinator Ms. Winn concerning
a clarification to the mass punishment sanctions. She responded that we

were under a‘ formof punishment: "It works the same way with DHO or UDC

sanctions."

22. On April:23, 2019 (in a similar manner to the Complaint 138), inmate
Philip Carrier was beaten to within an inch of his life in "N-Unit" sometime
after dinner. All inmates were recalled to their housing units. Since

I work in UNICOR along with inmate Carrier I noticed he was not at work

on April 24. About ten people told me what happened and everyone had a
unanimous telling of the facts.

23. I am aware of the theft-to-support-a-drug-habit beating of inmate Anthony
by inmate Crom. I overheard S.I.S. relating the event to another staff member.
I also spoke with Crom and inmates Foster and Blue, who related to me in general
that they were doing "exactly what S.1.S. told us to do," and that the choice
had really been made for them "by the police." I tended to believe this because
at least ten other inmates described the events the same way as it appears

in the Complaint. me
Ao vel 2g 28/7 ‘sf SDL LZ0—

Pate Executed

Under penalty of perjury pursuant to 26 U.5.C. § 1746, I hereby swear
and verify that the foregoing is true and correct as an affidavit, and that
the facts stated en information and belief are true to the best of my
knawledge and belief.

Witnessed by: be v2 Zaps ISISG OP 6 Zo AL — F-2¢-19

 

7 4 Date
Witnessed by: loncrtsan oan isi c Bh eb Ae 1)
, = ate

 

Affidavit of Zre D Welsh Page 4 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 37 of 67 Page ID #52

TRULINCS 10444089 - WELCH, ERIC DEXTER - Unit: MAR-B-A

FROM: 10444089

TO: Warden
SUBJECT: ***Request to Staff*** WELCH, ERIC, Reg# 10444089, MAR-B-A

DATE: 04/07/2019 01:30:29 PM

To: Warden William True and Captain D. Stickles
Inmate Work Assignment: UNICOR

Dear Warden True:

First of all, it is essential that you know | am sincere in saying | appreciate what you are trying to accomplish (reduce or
eliminate drug use on the compound). | took the opportunity for spring cleaning in stride. That being said the recent actions
you took in trying to accomplish that worth goal has even more of us and our families concerned for our "safety and security."

In effect, instead of having your highly trained staff administer more frequent and roaming "motor-skills assessment field
sobriety checks," you went with a more medieval approach: Make inmates police each other. While not explicit, it is de facto in
your Memorandum. To-wit: This has created a structure which -- in your words -- "pose[s] a serious threat to the security and
orderly running of this institution." [MEMORANDUM FOR INMATE POPULATION, April 1, 2019]. This exists by participation in

the essential ramifications of the Memo.

You and | have only talked brief in the past at mainline, and | always maintain that you are; and not I, the expert when it comes
to running a prison. The psychological effect and spring cleaning were well-intentioned. As for the Mass Punishment, you
previously implemented a similar policy in a memo dated April 19, 2017 for “deterrence of alcohol, drug and weapons related
incidents." The difference is the 2017 memo affected the population of a single unit, whereas the present 2019 memo is
administered to the entire inmate population (appx. 7101 134 inmates, +/-11, www.bop.app).

ev

Put simply, there are really only four things to consider, and some are interrelated.
1. Both the Staff AND a majority of the inmates desire to reduce or eliminate drug use on the compound.

2. Mass punishment offends the conscience: United States Government employees are given large amounts of taxpayer
dollars for training and custodial duties. Prisoner safety suffers more severe risk and Inmate A desires to keep the place
running sane, but Prisoner B desires to get high and cause health problems to himself an others if he ends up violent. Inmate
A's desire to avoid sanctions “de facto" motivates him to "snitch" or otherwise engage in the care and well being of his fellow
inmate (something that, while noble, is not something he is trained nor paid to do), The judge who sentenced us did not
sentence us to the care and custody of each inmate with whom one is incarcerated. As a result, Inmate B (or his gang of
friends) retaliate against Inmate A ... all due to the new "snitch policy."

3. The Code of Federal Regulations Sections 541.1 and 541.4 are cited by and shaped the Policy 5270.09 Inmate Discipline
Program. This only allows staff "to impose sanctions on inmates who commit prohibited acts. Sanctions will not be imposed in
a capricious or retaliatory manner." One sanction is "Loss of Privileges" (e.g. visiting, telephone, e-mail, commissary, etc.)

CEFR Section 541.f(F). There is no exception in Policy that permits sanctions as tools to manipulate inmates to turn on each

other.

4. According to empirical data submitted and adopted into the First Step Act, family contact is essential to prevent recidivism
and encourage inmates to make housing and employment contacts when they are getting ready to go home. The April 2019
(and the April 2017) memos undermined these policy and empirical custody considerations.

Additionally, access to the Courts is offended (a First Amendment right). Many inmates have one, two, or three cases they
are fighting and make use of outside acquaintances to relay information back and forth to the courts, or they call or email the
courts or their attorneys directly. The phone is perhaps even more critical for this endeavor and right. Absent rational basis
(like earning an incident report by a particular inmate who receives a particular sanction), reducing phone and email is a “loss,”
just as it would be a “loss to receive less money in your paycheck for doing the same work.

Please take this in the way it was intended, and reconsider your approach to reducing or eliminating drug use on the
compound. Make use of medical staff and roaming custody staff in tandem to perform motor skills assessment field sobriety
checks. If past performance is any indicator, consider that your 2017 "snitch policy" had apparently no effect (indeed the
situation is even worse now), and now find ourselves in a lockdown for over a week in 2019. Instead of having your staff do the
job they are assigned to you to do, you have extended a bad "policy" and applies it now to the whole compound. This despite
the fact that it did not do what most of us want: Less or no intoxicants.
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 38 o0f67 Page ID #53

TRULINCS 10444089 - WELCH, ERIC DEXTER - Unit: MAR-B-A

One last consideration is a request that you talk with Adam Hanna or Mr. Pfeffer at the Fairview Heights U.S. Attorneys’ Office.
They may have better advice on solving the cost/benefit of your ending up paying or reorganizing staff appropriately (K2 and
Spice Incident Reports are upheld against the inmates based on medical assessments), versus incurring outside and inside
litigation which no one really enjoys more than lawyers, leaving the parties in a frustrating and prolonged impasse.

| pray that you make the best choice, as there are likely factors not raised in this letter of which you alone are aware.
Thank you,

Eric Welch
10444-089
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 39 of 67 Page ID #54

TRULINCS 10444089 - WELCH, ERIC DEXTER - Unit: MAR-B-A

FROM: Trust Fund

TO: 10444089

SUBJECT: RE:***Inmate to Staff Message***
DATE: 04/09/2019 02:47:02 PM

It works the same way with DHO or UDC sanctions. You have spent $100.00 In this validation cycle so your balance is 0 but
you will revalidate soon.

**Inmate Message Below***

| noticed that | have "$0" remaining spending limit balance, even though | never spent anything after the March 30, 2019 knee-
jerk over-reaction by Administration to close the institution.

Can you tell me if this will be corrected, since, in essence, even if | were guilty of an incident report to warrant loss of privileges,
the math that got applied is BACK-DATED to punish for a spending that occurred in the distant past, prior to March 30.

Thanks,

E. Welch
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 40 of 67 Page ID #55

PLAINTIFF'S EXHIBIT K

 
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 410f67 Page ID #56

z= Al Co
VERIFIED AFFIDAVIT/DECLARATION OF = oh YL om Aror

State of IlTinois }
) 5s. Register # At 12 64} - 177

County of Williamson }
— (, | i = I ;
1, De WH OW pilot currently incarcerated at U.S.P. Marion, P.O.
Box 1000, 4500 Prison Road, Marion, Fllinotis 62959, do hereby swear and
verity that if called upon to testify in this matter, I would testify as
follows, to-wit:

1. On March 30, 2019, Warden William True locked-down U.S.P. Marion,
alleging "Lilicit Drug Use". [MEMORANDUM FOR INMATE POPULATION, Apri? 1,
2019, fssued on the third day of what would become a wine-day Tockdown].

2. During that time, a shakedown of the entire institution ensued.

3. During that shakedown, the personal property of a1] inmates was
discarded, my own and others I witnessed, to include correspondence course
textbooks, inmate legal work and personal clothing within “institution
limits", or lawfully purchased commissary, along with normal refuse.

4. I personally witnessed BOP Staff destroy government property by throwing
away functionally safe microwaves owt of evary single unit. These microwaves
had been purchased with inmate funds via the Trust Fund. All are now gone.

5. During this lockdown, the Warden and his agents gave all inmates
nutritionally inadequate meals as a-form of corporal punishment (no het meals
for six days, small portions).

6. —N<UnitstoHets were deliberately turned-off—for six hours, where N-Unit/
is housed by a-man cells, Forcim eres 5S NEL conti tions with human / QC
feces present. ——_—_———

 

7, The Warden's agents confiscated cleaning supplies from most units, to
include toilet brushes, scouring pads, and Ajax/soap/disinfectant.

8. Prior to the Warden's actions, I personally observed a regular "catch
and release” de facto (unwritten) policy enforced. Particular inmates
obviously guilty of intoxication by K2, Spice, or commercial chemicals

were locked up in the Special Housing Unit ("SHU"), only te be released a few
days later with apparently no consequences in some cases.

9. I personally know of individuals who did in fact receive "shots"
(Incident Reports and disciplinary action), where Medical Staff worked in
tandem with Custody Staff to assure the accuracy, fairness and validity of a
“motor-skills assessment field-sobriety test." For reasons unknown to me,
the Warden's agents systematically failed to make these particularized
assessments in their regular duty and care of custody.
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 42 of 67 Page ID #57

10. The Warden engaged in Mass Punishment against ali inmates, regardless of
the fact that most of us (myself included) do not use drugs or other
intoxicants. This was a way of manipulating inmates to turn on each other.

11. The April 1, 2019 Memo states, in relevant part, that all inmates in the
institution receive the following sanctions without a particular finding of
any prohibited act: Monthly Commissary Spending Limit reduced to $100 (from
$300); Inmate Telephone Privileges reduced to one, 5-minute telephone call
per day; and e-mails reduced to five e-mails per day, for a period of 30
days. “If during the 30 day period there are no incidents involving inmate
drug use, the limits will be increased. Every incident involving inmate drug
use will reset the 30 day time frame and may result in further reduced

limits."

12. I personally overheard the Warden or his agents explicitly say that he
does not care how the issue is resolved, that any inmate who personally takes

action against users/distributors will face no consequences.

13. I personally am aware of the institution calling so-called "shot-
callers" from various groups on the compound to a meeting in the gym. At
this meeting, they or others who spoke with them unanimously held that the
Warden's agents encouraged them to "fix the problem by any means necessary"
and all the groups declined to do so because "that is the police's job."

14. I am suffering a loss of access to the courts and I noticed that others

are as well.

15. During this time and up to the present day, I requested an

administrative remedy from (wid Menscecbyratso that I could begin the

administrative fo process.

 

Affidavit of \parayPage 2 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 43 of 67 Page ID #58

16. I fear for my safety and honestly know and believe that the situation of
the security and orderly running of the institution is far more seriously
threatened now, than it was before when the Warden's agents engaged in
systematic "catch and release" of partiular individuals. Now, mass
punishment has me (and those I talk with) on "pins and needles" with deadly
risk caused by the Warden's actions.

17. I have already been threatened (implicitly or explicitly) with

retaliation by staff, to inctude the following: the writing of bogus

"shots"; nuisance "shake-downs"; transfer out of my cell/housing unit
assignment; tnvetuntary transfer out of work of programming—assignment(s) dang
participation;—transfer-out of the institution for “dieset-therapy._ Wa

18. For all of the reasons in this affidavit/declaration, I believe
petitioning the Court to be my only remaining (reasonable and lawful) option,
as the safety at USP Marion is immediately at risk and staff are indifferent
toward providing the administrative remedy process.

19. In April of 2017, the Warden implemented a near-identical policy, but it
was targeted at particular housing units, and not the whole institution. If
past performance is any indicator, mass punishment not only did not work, but
according to the Warden's own words, the situation has become worse. He
seems to be throwing up his hands and saying “you inmates take care of it, I
have no willingness to order my Staff to engage in sobriety checks, and no
willingness to ship intoxicant users/distributors so that they and they alone
can experience the consequences of their own actions."

20. I desire a remedy as follows: Immediate injunction ordering the Warden
to immediately permit all inmates (except for those duly found guilty of
incident reports for particular prohibited acts). full and unrestricted normal
access to all Privileges; Brand-new commercial-grade microwaves purchased
for every housing unit (three per unit), to kil] food-borne bacteria and meal
preparation for those who (a) have a work schedule and physical demands for
meals outside of regular "chow hall" menu/times (to complement, not
supplement the institution meals); (b) have dietary demands due to exercise;

Affidavit of afd Sacyease 3 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 44o0f67 Page ID #59

and (c) have medical or religious meal needs for all of the above-named

purposes of meal preparation and safety.

A . il dpe ist ile WM oreg —

Under penalty of perjury pursuant to 28 U.S.C. § 1746, I hereby swear
and verify that the foregoing is true and correct as an affidavit, and that
the facts stated on information and belief are true to the best of my
knowledge and belief.

Witnessed by: Zric Welk isf LO J jt 4/isfi4

 

 

 

- ail Date
Witnessed by: atthe Salliegn _ 4s FE 13/19
" ‘Date

Affidavit of Sohn Flan Sate Pase 4 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 45 o0f67 Page ID #60

PLAINTIFF'S EXHIBIT L

 
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 46 of 67 Page ID #61

VERIFIED AFFIDAVIT/DECLARATION OF / tony LAMM EL!

State of Illinois es. Register 4 25174 “2.
County of Williamson  }

2 fit / 2/éurrently incarcerated at U.S.P. Marion, P.O.
fox 1000, 4500 Prison Road, Marion, Illinois 62959, do hereby swear and
verity that if called upon to testify in this matter, I would testify as
follows, to-wit:

 

1, On March 30, 2019, Warden William True locked-down U.S.P. Marion,
alleging “Lllicit Brug Use". [CMENCRANDUM FOR INMATE POPULATION, April 1,
2019, issued on the third day of what would become a nine-day lockdown].

2. During that time, a shakedown of the entire institution ensued.

3. During that shakedown, the personal property of all inmates was
discarded, my own and others I witnessed, to include correspondence course
‘textbooks, Inmate legal work and personal clothing within “institution
limits", or lawfully purchased commissary, along with normal refuse.

4. I personally witnessed BOP Staff destroy gavernment property by throwing
away functionally safe microwaves out of every single unit. These microwaves
had been purchased with inmate funds via the Trust Fund. All are now gone,

5. During this lockdown, the Warden and his agents gave all inmates
nutritionally inadequate meals as a form of corporal punishment (no hot. meals
for six days, small portions}.

6. N-Units toilets were deliberately turned off for six hours, where N-Unit
is housed by 3-man cells, forcing inmates to live in conditions with human
feces present,

*, The Warden's agents confiscated cleaning supplies from most units, to
jnclude toilet brushes, scouring pads, and Ajax/soap/disinfectant,

8. Prior te the Warden‘s actions, I personally observed a regular "catch
and release” de facto (unwritten) policy enforced. Particular inmates
obviously quilty of intoxication by K2, Spice, or commercial chemicals

were locked up in the Special Housing Unit ("SHU"), only to be released a few
days later with apparently no consequences in same cases.

9. I personally know of individuals who did ia fact recelye "shots"
{Incident Reports and dis¢iplinary action}, where Medical Staff worked in
tandem with Custody Staff to assure the accuracy, fairness and validity of a
“motor-skills assessment field=-sobriety test." For reasons unknown to me,
the Warden's agents systematically failed to make these particularized
assessments in their regular duty and care of custody.
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 47 of 67 Page ID #62

10. The Warden engaged in Mass Punishment against all inmates, regardless of
the fact that most of us (myself included) do not use drugs or other
intoxicants. This was a way of manipulating inmates to turn on each other.

11. The April 1, 2019 Memo states, in relevant part, that all inmates in the
institution receive the following sanctions without a particular finding of
any prohibited act: Monthly Commissary Spending Limit reduced to $100 (from
$300); Inmate Telephone Privileges reduced to one, 5-minute telephone call
per day; and e-mails reduced to five e-mails per day, for a period of 30
days. "If during the 30 day period there are no incidents involving inmate
drug use, the limits will be increased. Every incident involving inmate drug
use will reset the 30 day time frame and may result in further reduced

limits."

12. I personally overheard the Warden or his agents explicitly say that he
does not care how the issue is resQived, that any inmate who personally takes

action against users/distributors will face no consequences.

13. I personally am aware of the institution calling so-called "shot-
callers" from various groups on the compound to a meeting in the gym. At
this meeting, they or others who spoke with them unanimously held that the
Warden's agents encouraged them to "fix the problem by any means necessary"
and al] the groups declined to do so because “that is the police's job.”

14. I am suffering a loss of access to the courts and I noticed that others

are as well.

15. During this time and up to the present day, I requested an

administrative remedy from’®™ DAv/al , so that I could begin the
administrative remedy process. It was denied and I followed up with e-mail

to no avail.

Affidavit of <Krwate f Page 2 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 48 of 67 Page ID #63

16. I fear for my safety and honestly know and believe that the situation of
the security and orderly running of the institution is far more seriously
threatened now, than it was before when the Warden's agents engaged in
systematic "catch and release" of partiular individuals. Now, mass
punishment has me (and those I talk with) on "pins and needles" with deadly
risk caused by the Warden's actions.

17. I have already been threatened (implicitly or explicitly) with
retaliation by staff, to include the following: the writing of bogus
“shots"; nuisance "shake-downs"; transfer out of my cell/housing unit
assignment; involuntary transfer out of work or programming assignment(s) and
participation; transfer out of the institution for "diesel therapy."

18. For all of the reasons in this affidavit/declaration, I believe
petitioning the Court to be my only remaining {reasonable and lawful) option,
as the safety at USP Marion is immediately at risk and staff are indifferent

toward providing the administrative remedy process.

19. In April of 2017, the Warden implemented a near-identical policy, but it
was targeted at particular housing units, and not the whole institution. If
past performance is any indicator, mass punishment not only did not work, but
according to the Warden's own words, the situation has become worse. He
seems to be throwing up his hands and saying “you inmates take care of it, I
have no willingness to order my Staff to engage in sobriety checks, and no
willingness to ship intoxicant users/distributors so that they and they alone
can experience the consequences of their own actions.”

20. I desire a remedy as follows: Immediate injunction ordering the Warden
to immediately permit all inmates (except for those duly found guilty of
incident reports for particular prohibited acts),, full and unrestricted norma]
access to ali Privileges; Brand-new commercial-grade microwaves purchased
for every housing unit (three per unit), to kill food-borne bacteria and meal
preparation for those who (a) have a work schedule and physical demands for
meals outside of regular "chow hall" menu/times (to complement, not
supplement the institution meals); (b) have dietary demands due to exercise;

——

Affidavit of /. S/GaasMie [C Page 3 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 49 of 67 Page ID #64

and (c) have medica? or religious meal needs for all of the above-named

purposes of méal preparation and safety.

4/15/19

fate /Executed

Under penalty of perjury pursuant to 28 U.5.C. § 1746, I hereby swear
and verify that the foregoing is true and correct as an affidavit, and that
the facts stated on information and belief are true to the best of my
knowledge and belief.

iISTUI- GA’ —
Witnessed by: Mettheo Sullioau fs/ M$ ; 4/13( (9

 

 

 

 

 

' Date
Witnessed by: Ene belch 4749-08 G9 tsi LZ S/13 fl 7
= Date

ae lf
Affidavit of 7.5 Liana Page 4 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 500f67 Page ID #65

PLAINTIFF'S EXHIBIT M

 
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 51o0f67 Page ID #66

VERIFIED AFFIDAVIT/DECLARATION OF

 

State of Illinois }
} 8s. Register # |
County of Williamson  }

I, ; currently incarcerated at U.S.P. Marion, P.0.
Box 1000, 4500 Prison Road, Marion, Illinois 62959, do hereby swear and
verity that if called upon to testify in this matter, I would testify as

follows, to-wit:

1. On March 30, 2019, Warden William True locked-down U.S.P. Marton,
alleging "Illicit Brug Use". [MEMORANDUM FOR INMATE POPULATION, Apri? 1,
2019, issued on the third day of what would become a nine-day }ockdown].

2. During that time, a shakedown of the entire institution ensued.

3, During that shakedown, the personal property af a1] inmates was
discarded, my own and others I witnessed, to include correspondence course
textbooks, inmate legal work and personal clothing within “institution
limits", or lawfully purchased commissary, along with normal refuse.

4, [ personally witnessed BOP Staff destroy government property by throwing
away functionally safe microwaves out of every single unit. These microwaves
had been purchased with inmate funds via the Trust Fund. All are now gone,

5. During this lockdown, the Warden and his agents gave all inmates
nutritionally inadequate meals as a form of corporal punishment (no hot meals
CE, sz) portions).

&. N-Units toilets were deliberately turned off for six hours, where N-Unit
is housed by 3-man cells, forcing inmates to live in conditions with human
feces present.

7. The Warden's agents confiscated cleaning supplies from most units, to
include toilet brushes, scouring pads, and Ajax/soap/disinfectant.

8. Prior to the Warden's actions, I personally observed a regular "catch
and release" de facto (unwritten) policy enforced. Particular inmates
obviously guilty of intoxication by K2, Spice, or commercial chemicals

were Tocked up in the Special Housing Unit ("SHU"), only to be released a few
days later with apparently no consequences in some cases.

9. I personally know. of individuals who did in fact receive "shots"
(Incident Reports and disciplinary action}, where Medical Staff worked in
tandem with Custody Staff to assure the accuracy, fairness and validity of a
“motor-skills assessment field-sobriety test." For reasons unknown to me,
the Warden's agents systematically failed to make these particularized
assessments in their regular duty and care of custody.
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 52 o0f67 Page ID #67

10. The Warden engaged in Mass Punishment against all inmates, regardless of
the fact that most of us (myself included) do not use drugs or other
{ntoxicants. This was a way of manipulating tnmates to turn on each other.

11. The April 1, 2019 Memo states, in relevant part, that all inmates in the
institution receive the following sanctions without a particular finding of
any prohibited act: Monthly Commissary Spending Limit reduced to $100 (from
$300); Inmate Telephone Privileges reduced to one, 5-minute telephone call
per day; and e-mails reduced to five e-mails per day, for a period of 30
days. “If during the 30 day period there are no incidents involving inmate
drug use, the limits will be increased. Every incident involving inmate drug
use will reset the 30 day time frame and may result in further reduced

limits."

12. I personally overheard the Warden or his agents explicitly say that he
does not care how the issue is resolved, that any inmate who personally takes

action against users/distributors will face no consequences.

13. I personally am aware of the institution calling so-called "shot-
callers" from various groups on the compound to a meeting in the gym. At
this meeting; they or others who spoke with them unanimously held that the
Warden's agents encouraged them to "fix the problem by any means necessary"
and all the groups declined to do so because “that is the police's job."

14. I am suffering a loss of access to the courts and I noticed that others

are as well.

15. During this time and up to the present day, I requested an
administrative remedy from >» so that I could begin the
administrative remedy process. It was denied and I followed up with e-mail

to no avail.

Chocdes,

Affidavit of Timery Page 2 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 53 0f67 Page ID #68

16. I fear for my safety and honestly know and believe that the situation of
the security and orderly running of the institution is far more seriously
threatened now, than it was before when the Warden's agents engaged in
systematic "catch and release" of partiular individuals. Now, mass
punishment has me (and those I talk with) on "pins and needles" with deadly

risk caused by the Warden's actions.

17. I have already been threatened (implicitly or explicitly) with
retaliation by staff, to include the following: the writing of bogus
"shots"; nuisance "shake-downs'; transfer out of my cell/housing unit
assignment; involuntary transfer out of work or programming assignment(s) and
participation; transfer out of the institution for "diesel therapy."

18. For all of the reasons in this affidavit/declaration, I believe
petitioning the Court to be my only remaining (reasonable and lawful) option,
as the safety at USP Marion is immediately at risk and staff are indifferent

toward providing the administrative remedy process.

19. In April of 2017, the Warden implemented a near-identical policy, but it
was targeted at particular housing units, and not the whole institution. If
past performance is any indicator, mass punishment not only did not work, but
according to the Warden's own words, the situation has become worse. He
seems to be throwing up his hands and saying "you inmates take care of it, I
have no willingness to order my Staff to engage in sobriety checks, and no
willingness to ship intoxicant users/distributors so that they and they alone
can experience the consequences of their own actions."

20. I desire a remedy as follows: Immediate injunction ordering the Warden
to immediately permit all inmates (except for those duly found guilty of
incident reports for particular prohibited acts), full and unrestricted norma}
access to all Privileges; Brand-new commercial-grade microwaves purchased
for every housing unit (three per unit), to kill food-borne bacteria and meal
preparation for those who (a) have a work schedule and physical demands for
meals outside of regular "chow hall" menu/times (to complement, not
supplement the institution meals); (b) have dietary demands due to exercise;

TT
Affidavit of Jimmy Ka ches Page 3 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 54 o0f67 Page ID #69

and (c) have medical or religious meal needs for all of the above-named

purposes of meal preparation and safety.

5025-064

rs

(stX ooocon, Wh acon

 

Date Executed

Under penalty of perjury pursuant to 28 U.S.C. § 1746, I hereby swear
and verify that the foregoing is true and correct as an affidavit, and that
the facts stated on information and belief are true to the best of my

knowledge and belief.
isi Tere HAE Ht iff IAOLHE
/s/ Gees CA “uta S606 -02f

Date

 
  

Witnessed by:

Witnessed by: (ode, Colyer t

 

 

Ti Bade
Affidavit of Sinan deg Page 4 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 55o0f67 Page ID #70

PLAINTIFF'S EXHIBIT N

 
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 56o0f67 Page ID#71

VERIFIED AFFIDAVIT/DECLARATION OF |
State of Illinois )
$5. Register # (
County af Williamson  }

ro

I, \-~ _, turrently incarcerated at U.S.P. Marion, P.O.
Box 1000, 4500 Prison Road, ” Warton, Lilinois 62959, do hereby swear and
verify that if called upon to testify in this matter, I would testify as
follows, to-wit:

1. On March 30, 2019, Warden William True” locked-down U.S.P. Marion,
alleging "Lllicit Brug Use". [MEMORANDUM FOR INMATE POPULATION, April 1,
2019, issued on the third day of what would become a nine-day lockdown].

2. During that time, a shakedown of the entire institution ensued.

3. During that shakedown, the personal property of all inmates was
discarded, my own and others I witnessed, to include correspondence course
textbooks, inmate legal work and personal clothing within “institution
limits", or lawfully purchased commissary, along with normal refuse.

4. I personally witnessed BOP Staff destroy government property by throwing
away functionally safe microwaves. out of every single unit. These microwaves
had been purchased with inmate funds via. the Trust Fund. All are. now gone,

5. During this lockdown, the Warden and his agents gave all inmates
nutritionally inadequate meals as a form of corporal punishment (no hot meals
for six days, small portions}. |

6. N-Units toilets were deliberately turned off for six hours, where N-Unit
is housed by 3-man cells, forcing inmates to live in conditions with human
feces present.

7. The Warden's agents confiscated cleaning supplies from most units, to
Taclude toilet brushes, scouring pads, and Ajax/soap/disinfectant.

8. Prior to the Warden's actions, I personally observed a regular “catch
and release" de facto (unwritten) policy enforced. Particular inmates
obviously guilty of intoxication by K2, Spice, or commercial chemicals

were locked up in the Special Housing Unft ("SHU"), only te be released a few
days later with apparently Ao consequences in same cases.

9. I personally know of individuals who did in fact receive "shots"
(Incident Reports and disciplinary action), where Medical Staff worked in
tandem with Custody Staff to assure the accuracy, fairness and validity of a
“motor-skills assessment field-sobriety test." For reasons unknown to me,
the Warden's agents systematically failed to make these particularized
assessments in their reqular duty and care of custody.
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 57of67 Page ID #72

10. The Warden engaged in Mass Punishment against al? inmates, regardless of
the fact that most of us (myself included) do not use drugs or other
intoxicants. This was a way of manipulating inmates to turn on each other.

11. The April 1, 2019 Memo states, in relevant part, that all inmates in the
institution receive the following sanctions without a particular finding of
any prohibited act: Monthly Commissary Spending Limit reduced to $100 (from
$300); Inmate Telephone Privileges reduced to one, 5-minute telephone call
per day; and e-mails reduced to five e-mails per day, for a period of 30
days. “If during the 30 day period there are no incidents involving inmate
drug use, the limits will be increased. Every incident involving inmate drug
use will reset the 30 day time frame and may result in further reduced

limits."

12. I personally overheard the Warden or his agents explicitly say that he
does not care how the issue is resalved, that any inmate who personally takes

action against users/distributors will face no consequences.

13. I personally am aware of the institution calling so-called "shot-
callers" from various groups on the compound to a meeting in the gym. At
this meeting, they or others who spoke with them unanimously held that the
Warden's agents encouraged them to "fix the problem by any means necessary"
and all the groups declined to do so because “that is the police's job."

14. I am suffering a loss of access to the courts and I noticed that others

are as well.

15. During this time and up to the present day, I requested an
administrative remedy from ~\t » so that I could begin the
administrative remedy process. It was denied and I followed up with e-mail

to no avail.

Affidavit of Xo .\- , Page 2 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 58o0f67 Page ID #73

16. I fear for my safety and honestly know and believe that the situation of
the security and orderly running of the institution is far more seriously
threatened now, than it was before when the Warden's agents engaged in
systematic "catch and release" of partiular individuals. Now, mass
punishment has me (and those I talk with) on "pins and needles" with deadly
risk caused by the Warden's actions.

17. I have already been threatened (implicitly or explicitly) with
retaliation by staff, to include the following: the writing of bogus
"shots"; nuisance "shake-downs"; transfer out of my cell/housing unit
assignment; involuntary transfer out of work or programming assignment(s) and
participation; transfer out of the institution for "diesel therapy."

18. For all of the reasons in this affidavit/declaration, I believe
petitioning the Court to be my only remaining (reasonable and lawful) option,
as the safety at USP Marion is immediately at risk and staff are indifferent

toward providing the administrative remedy process.

19. In April of 2017, the Warden implemented a near-identical policy, but it
was targeted at particular housing units, and not the whole institution. If
past performance is any indicator, mass punishment not only did not work, but
according to the Warden's own words, the situation has become worse. He
seems to be throwing up his hands and saying “you inmates take care of it, I
have no willingness to order my Staff to engage in sobriety checks, and no
willingness to ship intoxicant users/distributors so that they and they alone
can experience the consequences of their own actions."

20. I desire a remedy as follows: Immediate injunction ordering the Warden
to immediately permit all inmates (except for those duly found guilty of
incident reports for particular prohibited acts), full and unrestricted normal
access to all Privileges; Brand-new commercial-grade microwaves purchased
for every housing unit (three per unit), to kil] food-borne bacteria and meal
preparation for those who (a) have a work schedule and physical demands for
meals outside of regular "chow hall" menu/times (to complement, not
supplement the institution meals); (b) have dietary demands due to exercise;

Affidavit of y .. » Page 3 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 59 o0f67 Page ID #74

and (c) have medical or religious meal needs for all of the above-named

purposes of meal preparation and safety.

Ut ie /s/ :
Date Executed

 

Under penalty of perjury pursuant to 28 U.S.C. § 1746, I hereby swear
and verify that the foregoing is true and correct as an affidavit, and that
the facts stated on information and belief are true ta the best of my
knowledge and belief.

 

+ *
/\ a = q
Witnessed by: Wier Naw (SRA ANd y  4-U7.
/ - . >) \ Date
Witnessed by: At MIA DET /
Tae sl Date

 

f
ff

Affidavit of “QC. , Page 4 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 60o0f67 Page ID #75

PLAINTIFF'S EXHIBIT 0

 
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 610f67 Page ID #76

U.S. Department of Justice
Federal Bureau of Prisons
United States Penitentiary

Marion, Illinois 62959

 

 

April 24, 2019

MEMORANDUM FOR INMATE POPULATION
FROM: B. True, Warden
SUBJECT: Reduction in Commissary Spending Limits

In accordance with the Illicit Drug Use memorandum issued to the inmate population on
April 1, 2019, the monthly commissary spending limit will continue at $75. Specifically,
in the past week, a total of four (4) inmates have been placed into the Special Housing
Unit due to illicit drug use and or drug possession.

Until further notice, the following measures will be in place.
* Monthly Commissary Spending Limit will be reduced to $75.00
* Inmate Telephone Privileges will be reduced to 1, 5 minute telephone call per day:

* Inmate e-mails will be reduced to 5 e-mails per day

The above restrictions will be reevaluated on a 30 days basis. If during the 30 day
period there are no incidents involving inmate drug use, the limits will be increased.
Every incident involving inmate drug use will reset the 30 day time frame and may result

in further reduced limits.

We have a Zero tolerance policy for illicit drug use; therefore, inmates found in
possession of Spice, K2 or any other illegal substance will be referred for

prosecution.
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 62 o0f67 Page ID #77

PLAINTIFF'S EXHIBIT P

 
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 63 0f67 Page ID #78

VERIFIED AFFIDAVIT/DECLARATION oF Drlegel Sanit
Stata of I]lineis } ie om
} 064s, Register # Iv Y 7) = 2 ts

County of Williamson =}

I, ¢ el . currently imcarcerated at U.$.P. MarTon, P.G.
Box 1000, 4560 Prison Road, Marion, Ll}inais 62959, do hereby swear ahd

yarify that if called upan to testify tn this matter, I would testify as

follows, to-wit:

1. Qn March 30, 2019, Warden William True locked-down U.S.P. Marion,

alleging "Elicit Brug Use". [CMEMORAMDUM FOR IMMATE POPULATIOM, Apri] 1,

2019, .fssued on the third day of what would Become a nine-day lockdown].

2. Quring that time, a shakedown of the entire institution ensued.

3, Guring that shakedown, the personal property of a1] Tnmateas was

distardead, my own and others I witnessed, to include correspondence course

textbooks, tnmate legal work and personal clothing within “institution ,
limits", or lawfully purchased commissary, along with normal refuse. .
4, I personally witnessed BOP Staff destroy government praperty by throwing

away functionally safe microwaves out oF every stngle unit. These microwaves

had been purchased with inmate funds via the Trust Fund. Al] are now gone,

5. . During this Jackdown, the Warden and his agemts gave all Tomates

nutritionally inadequate meals as a foria of carporal punishment [no hot meals

for six days, smal] portions).

&. N-Uniits toilets were delibérately turned off for six baurs, where K-Unit

is housed by 3-man cells, forcing inmates to live jn condTtjons with Auman

feces presant..

7. The Warden's agents confiscated cleaning Supplies from most units, to

inéelude toilet brushes, scouring pads, and Ajax/soap/distnfeczant,

&. Prior to the Warden's actions, I personally observed a regular “catch

and release" de facto (uneritten)] policy enforced. Particular inmates
abviously gwilty of intoxication by K2, Spice, or commercial chemicals

were locked up in the Special Housing Unit A”SHU"}, omly te -be released a few.
days later with apparently no consequences im some cases.

9. 1 personally know of individuals wha did in fact receive “shots”
(Incident Reports and disciplinary action), where Medical Staff. worked in
tandem with Custady Statt te assure the accuracy, fairness and validity of a
"“mator-skills assessment field-sobriety test.” For reasans unknown to me,
the Warden's agents systematically failed to make these particulartzed
assessments in their regular duty and care of custody.
«

Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 64o0f67 Page ID#79

10. The Warden engaged in Mass Punishment against all inmates, regardless of
the fact that most of us (myself included) do not use drugs or other
intoxicants. This was a way of manipulating inmates to turn on each other.

11. The April 1, 2019 Memo states, in relevant part, that all inmates in the
institution receive the following sanctions without a particular finding of
any prohibited act: Monthly Commissary Spending Limit reduced to $100 (from

$300); ‘Inmate Telephone Privileges reduced to one, 5-minute telephone call

per day; and e-mails reduced to five e-mails per day, for a period of 30
days. “If during the 30 day period there are no incidents involving inmate
drug use, the limits will be increased. Every incident involving inmate drug
use will reset the 30 day time frame and may result in further reduced

limits."

12. I personally overheard the Warden or his agents explicitly say that he
does not care how the issue is resolved, that any inmate who personally takes

action against users/distributors will face no consequences.

13. ° I personally am aware of the institution calling so-called "shot-
callers" from various groups on the compound to a meeting in the gym. At
this meeting, they or others who spoke with them unanimously held that the
Warden's agents encouraged them to "fix the problem by any means necessary"
and al] the groups declined to do so because "that is the police's job."

14. I am suffering a loss of access ta the courts and I noticed that others

are as well.

15. During this time and up to the present day, I requested an

administrative remedy from Mr Thoma, so that I could begin the

administrative remedy process. It was denied and I followed up with e-mail

to no avail.

Affidavit of Michael Smut hese 2 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 65o0f67 Page ID #80

16. I fear for my safety and honestly know and believe that the situation of
the security and orderly running of the institution is far more seriously
threatened now, than it was before when the Warden's agents engaged in
systematic "catch and release" of partiular. individuals. Now, mass
punishment has me (and those I talk with) on “pins and needles" with deadly
risk caused by the Warden's actions.

17. I have already been threatened (implicitly or explicitly) with
retaliation by staff, to include the following: the writing of bogus
"shots"; nuisance "shake-downs"; transfer out of my cell/housing unit
assignment; involuntary transfer out of work or programming assignment(s) and
participation; transfer out of the institution for “diesel therapy."

18. For all of the reasons in this affidavit/declaration, I believe
petitioning the Court to be my only remaining. (reasonable and lawful) option,
as the safety at USP Marion is immediately at risk and staff are indifferent

toward providing the administrative remedy process.

19. In April of 2017, the Warden implemented a near-identical policy, but it
was targeted at particular housing units, and not the whole institution. If
past performance is any indicator, mass punishment not only did not work, but
according to the Warden's own words, the situation has become worse. He
seems to be throwing up his hands and saying "you inmates take care of it, I
have no willingness to order my Staff to engage in sobriety checks, and no
willingness to ship intoxicant users/distributors so that they and they alone

can experience the consequences of their own actions."

20. I desire a remedy as follows: Immediate injunction ordering the Warden”
te immediately permit all inmates (except for those duly found guilty of
incident reports for particular prohibited acts), full and unrestricted norma]
access to all Privileges; Brand-new commercial-grade microwaves purchased
for every housing unit (three per unit), to kill food-borne bacteria and meal
preparation for those who (a) have a work schedule and physical demands for
meals outside of regular "chow hall" menu/times (to complement, not
supplement the institution meals); (b) have dietary demands due to exercise;

Ny
Affidavit = Mebuol SM Tie 3 of 4
_ Case 3:19-cv-00454-JPG Documenti1-1 Filed 04/26/19 Page 66 of 67 Page ID #81

and (c) have medical or. religious meal needs for all of the above-named

purposes of meal preparation and safety.

24/15 /s/ Wacbcuel Mmaadh-

Date Executed!

. Under penalty of perjury pursuant to 26 U.5.C. § 1748, I hereby swear
and verify that the foregoing is true and correct as an affidavit, and thet
the facts stated on information and belief are true te the best of my
kAGwiedge and belis?f.

pads
Witnessed by: A parma. Dr dwek ue fs/ Uoidett _ 4-24 - ( 4

 

 

Date
Witnessed Ab (4284-097 ts!Thonasy Et Helens 4/24/2019
“SD ‘ Date

ath

; ¢
Affidavit of Michael » Page 4 of 4
Case 3:19-cv-00454-JPG Document1-1 Filed 04/26/19 Page 67 of 67 Page ID #82

TRULINCS 18475026 - SMITH, MICHAEL - Unit: MAR-G-A

FROM: 18475026
TO: Unit Management East
SUBJECT: ***Request to Staff*** SMITH, MICHAEL, Reg# 18475026, MAR-G-A

DATE: 04/16/2019 01:41:38 PM

To: Mr. Thompson :
Inmate Work Assignment: unicor

| would like to request a bp-8...at your earliest time ,to process my adminstrative remedys.. thank u
